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 1                                                        The Honorable Thomas S. Zilly
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 7                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
 8
     ESTATE OF WANGSHENG LENG, by
 9   and through administrator, LIPING YANG,      No. 2:19-cv-00490-TSZ
10                                  Plaintiffs,   DEFENDANTS’ MOTION FOR
11                                                CLARIFICATION AND
                v.                                RECONSIDERATION REGARDING
12   THE CITY OF ISSAQUAH, ISSAQUAH               COURT’S DAUBERT RULINGS (DKT. #
     POLICE OFFICER M. LUCHT #1201, and           112)
13   ISSAQUAH POLICE OFFICER KYLEN
     WHITTOM, #1210,                              NOTE ON MOTION CALENDAR:
14
                                  Defendants.     DECEMBER 15, 2020
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     DEFS’ MOT. FOR. RECON. - 1                      KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:19-cv-00490-TSZ                                              ATTORNEYS AT LAW
     1002-01464/526790                                        801 SECOND AVENUE, SUITE 1210
                                                               SEATTLE, WASHINGTON 98104
                                                                   PHONE: (206) 623-8861
                                                                    FAX: (206) 223-9423
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 1                                           I.     INTRODUCTION

 2              Pursuant to Local Rule 7(h), Defendants respectfully request the Court clarify

 3   and/or reconsider its Daubert rulings at Docket Number 112.

 4              Defendants request clarification of the following rulings:

 5             Whether the Court intended to exclude Dr. Irv Scher entirely when Plaintiffs did not

 6              request such relief (See Dkt. # 68);

 7             Whether the Court intended to exclude any reference to the use of force factors

 8              identified in Graham, in addition to the use of the phrase “Graham v. Connor,” or

 9              just the case name itself.

10              Defendants request reconsideration of the following rulings:

11             Excluding Dr. Scher’s opinion that Mr. Leng’s injury was not the product of an

12              acute loading event.

13             Excluding Dr. Scher’s opinion that Mr. Leng was especially susceptible to the injury

14              he sustained.

15             Excluding Dr. Scher’s opinion that determining the precise quantum of force

16              necessary to result in Mr. Leng’s injury is impossible, where Dr. Arden’s opinion is

17              that it is possible.

18             Excluding Dr. Scher’s opinion that one cannot say the force used to result in Mr.

19              Leng’s injury was “significant,” or “substantial,” where Dr. Arden’s opinion is that

20              such force was used.

21              Finally, before denying this requested relief, Defendants would respectfully request

22   the Court conduct a Daubert hearing into Dr. Scher’s opinions and the bases for them.

23                                     II.        STATEMENT OF FACTS

24   1.         Dr. Scher is not offering medical opinions.

25              The Court is correct that Irving Scher, Ph.D., is not a medical doctor and is not

26   qualified to diagnose medical conditions (nor is he attempting to do so here). Dr. Scher is a

27
     DEFS’ MOT. FOR. RECON. - 2                                 KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:19-cv-00490-TSZ                                                         ATTORNEYS AT LAW
     1002-01464/526790                                                   801 SECOND AVENUE, SUITE 1210
                                                                          SEATTLE, WASHINGTON 98104
                                                                              PHONE: (206) 623-8861
                                                                               FAX: (206) 223-9423
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 1   bioengineer.1 The opinions he has offered are not opinions for which a medical doctor

 2   would be qualified to give. Instead, those opinions are uniquely capable of being addressed

 3   by someone in Dr. Scher’s field. Dr. Scher went to great lengths in his deposition to

 4   describe the relationship between the medical field and his field (biomechanics):

 5              When you have some type of event, I think of things unfolding in a timeline.
                You have some event, you know, whether it’s a car accident or something
 6
                like we have here or a slip and fall or whatever it is, there are forces applied
 7              to an individual, an individual goes through motions, there's forces internal
                to the body, and there's motions between segments of the body. Those forces
 8              and motions can create some type of damage or problem with the body, what
                we call an injury. And that link between the event, looking at the forces and
 9              motions to create damage to the human body, that's biomechanical
10              engineering, that’s what I've been trained in. That’s what we were just
                discussing. When you have the injury, then the individual needs to figure out
11              exactly what’s wrong and how to get better so they get diagnosed and
                treated. And that eventual treatment comes to an outcome, hopefully, the
12              outcome brings the individual to a situation that they were in before the
                event even started, but that link between the injury and the outcome where
13              you're being diagnosed and treated that's medical science. That’s what
14              medical doctors are typically trained in. So we like to think of in the
                biomechanical engineering community as being on opposite sides of the
15              injury. Medical doctors may have some anecdotal knowledge of
                biomechanics, and biomechanical engineers may have some anecdotal
16              knowledge of medicine, but, really, we're trained in different areas. So we
                kind of separate them, if that makes sense.
17

18   Declaration of Brian C. Augenthaler, Ex. A (Scher Dep. Tran., 23:6-24:15).

19              Plaintiffs’ counsel replied to Dr. Scher’s explanation, “Got it. It does make sense.”

20   Id. at 24:15-20. Counsel went on to clarify that Dr. Scher was not purporting to offer any
21   medical opinions, and Dr. Scher confirmed that was the case. Id. Dr. Scher adhered to those
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     principles in his reports and in his letter submitted in response to Plaintiffs’ motion
23
     “excluding certain proffered expert testimony of defense expert witness Irving S. Scher.”
24
     See Dkt. # 81-1; # 68, 1:16-18; Declaration of Irving Scher, ¶ 16.
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     1
      Dr. Scher, like Dr. Hayes mentioned in the Court’s footnote, relies on a radiologist for interpretation of
27   medical imaging, along with medical records specific to the subject person. Scher Decl., ¶ 10.

     DEFS’ MOT. FOR. RECON. - 3                                      KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:19-cv-00490-TSZ                                                              ATTORNEYS AT LAW
     1002-01464/526790                                                        801 SECOND AVENUE, SUITE 1210
                                                                               SEATTLE, WASHINGTON 98104
                                                                                   PHONE: (206) 623-8861
                                                                                    FAX: (206) 223-9423
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     2.         Both sides’ police practices experts are discussing the Graham factors.
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                The Graham factors for analyzing the reasonableness of force are the severity of the
 2

 3   crime at issue, whether the suspect poses an immediate threat to the safety of the officers or

 4   others, and whether the suspect is actively resisting arrest or attempting to evade arrest by
 5   flight. Graham v. Connor, 490 U.S. 386, 396 (1989). Plaintiffs’ police practices expert,
 6
     Susan Peters, addresses each of the factors.2 Dkt. 67-1, p. 11, ¶ 12. That Ms. Peters’
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     analysis of these factors is in the same order as set forth in Graham is not a coincidence.
 8

 9                                      III.     LEGAL AUTHORITY

10   1.         Defendants respectfully request clarification on the following rulings.

11              a.       It is unclear whether the Court intended to exclude Dr. Scher entirely.

12              The Court’s ruling reads, “Plaintiffs’ motion, docket no. 68, to exclude Irving Scher,

13   Ph.D. is GRANTED.” Dkt. #112, 2:2-3. Plaintiffs’ motion at Docket Number 68 did not

14   request such broad relief. Instead, the motion and corresponding proposed order requested

15   only that the Court “Exclude Certain Testimony from Defendants’ Expert, Dr. Irving

16   Scher…” Dkt. # 68-1, 2:4-6. Defendants respectfully request the Court clarify whether it

17   intended to grant broader relief than that requested of the Court by Plaintiffs, or whether the

18   Court intended to only exclude “Certain Testimony” as sought by Plaintiffs.

19              b.       It is unclear whether the experts will be allowed to address the Graham
                         factors.
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                The Court ruled, “Paynter will not be permitted to offer legal opinions, including
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     any application of the factors set forth in Graham v. Connor, 490 U.S. 386…” Dkt. #112,
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     3:4-7 (¶ 6(b)). It is unclear whether the Court intends for there to be no mention of the
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     substance of the underlying factors or whether the problematic testimony is the reference to
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     “Graham v. Connor.” The police are trained to evaluate the use of force under the “Graham
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     2
       Ms Peters wrote, “At the time of contact, Officers did not have probable cause to arrest Mr. Leng for any
26   type of crime. He did not pose an immediate threat to the safety of officers or others. He was not actively
     resisting arrest or attempting to flee. Accordingly, the use of force by officers was objectively unreasonable
27   and therefore excessive and unnecessary.”

     DEFS’ MOT. FOR. RECON. - 4                                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:19-cv-00490-TSZ                                                                 ATTORNEYS AT LAW
     1002-01464/526790                                                           801 SECOND AVENUE, SUITE 1210
                                                                                  SEATTLE, WASHINGTON 98104
                                                                                      PHONE: (206) 623-8861
                                                                                       FAX: (206) 223-9423
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 1   factors” in assessing the reasonableness of the force contemplated. Declaration of Jeffrey C.

 2   Paynter, Dkt. # 4, ¶ 2. Defendants respectfully request clarification whether the Court’s

 3   intent was to preclude any reference to the factors (whether or not the testimony includes

 4   the case name) and whether that prohibition will apply equally to both sides’ experts.

 5   2.         Defendants respectfully request reconsideration of the following rulings.

 6              The source of the Court’s rulings on Dr. Scher’s opinions seems to arise from an

 7   (understandable) confusion over the relationship between the practice of medicine and the

 8   discipline of biomechanical engineering. Biomechanical engineering is a widely recognized

 9   subdiscipline of bioengineering, a field for which there can be no reasonable debate that Dr.

10   Scher is qualified to opine. Scher Decl., ¶ 13. Defendants respectfully request the Court

11   reconsider the following rulings related to Dr. Scher.

12              a.       Dr. Scher should be permitted to testify that Mr. Leng’s injury was the not
                         the result of an acute loading event.
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                Dr. Scher, of all the witnesses in this case, is uniquely qualified to discuss whether
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     Mr. Leng’s injury was the result of an acute loading event (application of a single force of
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     sufficient magnitude to cause injury to Mr. Leng’s body). Scher Decl., ¶ 17. The Court’s
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     ruling excluding this testimony may stem from the apparent conflation of the diagnosis of
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     Mr. Leng’s preexisting spinal cord condition with how force would interact with that
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     specific condition as a scientific matter.3 For Mr. Leng’s underlying physiology, Dr. Scher
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     is relying entirely on the conclusions drawn by treating providers, the medical examiners,
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     and the radiologist he consulted with in preparation for submitting his reports. Id. at ¶ 18.
21
     Dr. Scher took that information and applied well-accepted biomechanical engineering
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     principles to arrive at his opinion that there was no application of a single force of sufficient
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     magnitude to cause the injury to someone other than Mr. Leng4. Id. at ¶ 17.
24
     3
       For this same reason, the comparison of Dr. Scher’s and Dr. Hayes’s credentials is inapt. Dr. Scher is not
25   attempting to opine on the original cause of Plaintiffs’ preexisting spinal condition. Instead, Dr. Scher is
     applying accepted bioengineering principles to help the jury understand the types of force that would be
26   necessary to result in the injury Mr. Leng ultimately sustained. Dr. Hayes possesses no superior qualifications
     for rendering that opinion than does Dr. Scher. Scher Decl., ¶ 10.
27   4
       Or someone else with his unique spinal anatomy.

     DEFS’ MOT. FOR. RECON. - 5                                        KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:19-cv-00490-TSZ                                                                 ATTORNEYS AT LAW
     1002-01464/526790                                                           801 SECOND AVENUE, SUITE 1210
                                                                                  SEATTLE, WASHINGTON 98104
                                                                                      PHONE: (206) 623-8861
                                                                                       FAX: (206) 223-9423
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 1              The Court’s exclusion of Dr. Scher’s “no acute loading event” opinion should be

 2   reconsidered. See id. at ¶ 17.

 3              b.       Dr. Scher should be permitted to testify that Mr. Leng was especially
                         susceptible to the injury.
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                It is not reasonably disputed that Mr. Leng’s cervical spine would not have been
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     injured but for his unique spinal anatomy. Dr. Arden, Plaintiffs’ medical examiner expert,
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     opines, “In summary, these degenerative processes caused fusions and stiffness in the
 7
     cervical spine, with some narrowing of the canal that contains the spinal cord. These
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     processes would render more susceptible to spinal injury, in particular fracture with
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     potential dislocation, due to the stiffening and diminished flexibility of the cervical
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     vertebral column.” Dkt. # 67-4, p. 4. He downplays the significance of this finding as it
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     pertains to causation as “speculative.” Id. Dr. Arden admits he is not a biomechanical
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     expert but has reviewed biomechanics reports in the “big picture of cases”. Augenthaler
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     Decl., Ex. B (Arden Dep. Tran., 9:18-10:16). Dr. Arden can only address the significance of
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     Mr. Leng’s preexisting spinal cord condition “theoretically,” and he lacks the background
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     to address the mechanism of injury from a force perspective like Dr. Scher. Id. at 66:6-20.
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     Plaintiffs can present Dr. Arden’s testimony, which is essentially inconclusive on the role
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     Mr. Leng’s condition had on the ultimately injury. But so too should Defendants be able to
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     present their biomechanical engineer’s opinion that Mr. Leng was far more susceptible to
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     his ultimate injury as a result of his unique spinal anatomy. Scher Decl., ¶ 18.
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                The Court’s exclusion of Dr. Scher’s “susceptibility” opinion should be
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     reconsidered. See id. at ¶¶ 17-20.
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23              c.       Dr. Scher should be permitted to testify that it is not reasonably possible to
                         quantify the precise force necessary to cause Mr. Leng’s injury.
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                Dr. Arden, Plaintiffs’ expert, will testify “Causing a cervical spinal cord injury
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     requires substantial force applied to the neck.” Dkt. #67-4, p. 3. Dr. Scher should be
26
     permitted to testify that Dr. Arden’s opinion that there was “substantial force” is
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     DEFS’ MOT. FOR. RECON. - 6                                  KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:19-cv-00490-TSZ                                                          ATTORNEYS AT LAW
     1002-01464/526790                                                    801 SECOND AVENUE, SUITE 1210
                                                                           SEATTLE, WASHINGTON 98104
                                                                               PHONE: (206) 623-8861
                                                                                FAX: (206) 223-9423
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 1   inconsistent with biomechanical engineering principles because there is no way to

 2   determine the amount of force given Mr. Leng’s specific anatomy.

 3              There is a logical fallacy built into Dr. Arden’s opinion on this point: if one cannot

 4   tell the precise force necessary to cause Mr. Leng’s opinion, then it is fair to assume the

 5   force was “substantial.” While one avenue to address that is through cross-examination and

 6   argument, Defendants should also be allowed to rebut Dr. Arden’s opinion that the force

 7   causing Mr. Leng’s injury was “substantial” by introducing a competent bioengineering

 8   opinion that there is no way to determine with any precision the degree of force that would

 9   have been necessary to cause that injury. The Court’s ruling excluding Dr. Scher’s opinion

10   on this point is based on the sensible position that a discussion of this broad range of

11   potential forces would not assist the jury’s fact-finding mission. Defendants fully agree but

12   for the fact that Plaintiffs will put on evidence that the force was “substantial” according to

13   Dr. Arden. Plaintiffs should not be allowed to have it both ways. If Dr. Scher is precluded

14   from referencing this wide range of potential force, then so should Dr. Arden.

15              The Court’s exclusion of Dr. Scher’s “no precise force” opinion should be

16   reconsidered. See Scher Decl.¸ ¶ 20.

17   3.         Alternatively, Defendants respectfully request as Daubert hearing.

18              If the Court is inclined to deny this Motion, Defendants respectfully request the

19   Court first hold a Daubert hearing to further consider Dr. Scher’s qualifications, opinions,

20   and their bases, directly from the expert himself. While such hearings are not required, they

21   can be helpful in avoiding unnecessary appellate practice. See In re Hanford Nuclear

22   Reservation Litig., 292 F.3d 1124, 1139 (9th Cir.2002).

23                                        IV.     CONCLUSION

24              For the reasons stated above, Defendants respectfully request the Court grant this

25   Motion for Clarification/Reconsideration.

26              //

27              //

     DEFS’ MOT. FOR. RECON. - 7                                 KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:19-cv-00490-TSZ                                                         ATTORNEYS AT LAW
     1002-01464/526790                                                   801 SECOND AVENUE, SUITE 1210
                                                                          SEATTLE, WASHINGTON 98104
                                                                              PHONE: (206) 623-8861
                                                                               FAX: (206) 223-9423
             Case 2:19-cv-00490-TSZ Document 113 Filed 12/15/20 Page 8 of 9




 1              DATED: December 15, 2020
 2                                     KEATING, BUCKLIN & McCORMACK, INC., P.S.
 3

 4
                                       By: /s/ Brian C. Augenthaler
 5                                     Brian C. Augenthaler, WSBA #44022
                                       Attorneys for Defendants
 6
                                       801 Second Avenue, Suite 1210
 7                                     Seattle, WA 98104
 8                                     Phone: (206) 623-8861
                                       Fax: (206) 223-9423
 9                                     Email: baugenthaler@kbmlawyers.com

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     DEFS’ MOT. FOR. RECON. - 8                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:19-cv-00490-TSZ                                               ATTORNEYS AT LAW
     1002-01464/526790                                         801 SECOND AVENUE, SUITE 1210
                                                                SEATTLE, WASHINGTON 98104
                                                                    PHONE: (206) 623-8861
                                                                     FAX: (206) 223-9423
             Case 2:19-cv-00490-TSZ Document 113 Filed 12/15/20 Page 9 of 9




 1                                    CERTIFICATE OF SERVICE

 2              I hereby certify that on the below date, I electronically filed the foregoing with the

 3   Clerk of the Court using the CM/ECF system which will send notification of such filing to

 4   the following:

 5
                Attorneys for Plaintiffs
 6              David B. Owens, WSBA #53856
                Loevy & Loevy
 7
                311 N. Aberdeen St., 3rd Floor
 8              Chicago, IL 60607
                T: 312-243-5900
 9              Email: david@loevy.com; melisa@loevy.com;
                melinda@loevy.com
10
                Attorneys for Plaintiffs
11
                Harry Williams IV, WSBA #41020
12              Law Office of Harry Williams LLC
                707 E. Harrison
13              Seattle, WA 98102
                T: 206-451-7195
14              Email: harry@harrywilliamslaw.com
15
     and I hereby certify that I have mailed by United States Postal Service the document to the
16
     following non-CM/ECF participants: N/A.
17

18
     DATED: December 15, 2020
19

20
                                                      /s/ Brian C. Augenthaler
21                                                    Brian C. Augenthaler, WSBA #44022

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23

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27
     DEFS’ MOT. FOR. RECON. - 9                                 KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:19-cv-00490-TSZ                                                         ATTORNEYS AT LAW
     1002-01464/526790                                                   801 SECOND AVENUE, SUITE 1210
                                                                          SEATTLE, WASHINGTON 98104
                                                                              PHONE: (206) 623-8861
                                                                               FAX: (206) 223-9423
